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                 G OOG L E N E ST




                 How the Nest Wi! team
                 set up their home
                 networks




                 Brianna LaFleur
                 Google Nest Team
                                                    The building I live in was built in 1912—and 100
                 Published Nov 4, 2019
                                                    years ago, nobody was thinking about Wi-Fi signals
                                                    when building homes. So I’ve had to improvise. My
                                                    Gancé and I have a Nest Wi( router set up in our
                                                    living room, at the far end of our one-bedroom
                                                    apartment. But even though our apartment is only
                                                    850 square feet, we’ve found having a Nest WiG
                                                    point gives us the signal boost we need, even down
                                                    three stories to the building’s garage and backyard.
                                                    We placed our Nest WiG point in the kitchen, and
                                                    since the device doubles as a smart speaker with
                                                    the Google Assistant, I can listen to music and my
                                                    favorite podcasts while I’m cooking dinner or doing

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                                                    the dishes.



                                                    Every home is unique, and that’s why we designed
                                                    the Nest WiG system to be completely modular.
                                                    While most homes up to 3,800 square feet will be
                                                    covered by a Nest WiG router and point, you can
                                                    also get a three-pack consisting of a Nest WiG
                                                    router and two points for homes up to 5,400 square
                                                    feet. You can even purchase a standalone Nest WiG
                                                    router for a smaller home, or a standalone Nest WiG
                                                    point to add to an existing network. Plus, Nest WiG
                                                    is backward compatible with Google WiG, so you
                                                    can easily upgrade your network.



                                                    Nest WiG is on shelves today at the Google Store,
                                                    Amazon, Target, Best Buy and more retailers.
                                                    Here’s how a few people behind Nest WiG have
                                                    used it to make the most of their home’s
                                                    connectivity.



                                                    Pushkar Sharma, product
                                                    manager
                                                    I live in a 1300-square-foot house with a large
                                                    backyard. I have a Nest WiG router in my garage,
                                                    because that’s where our cable drops in. But one of
                                                    the bedrooms behind the kitchen often drops to low
                                                    speeds. I have now added a WiG point in my
                                                    daughter’s bedroom, and it extends our signal to all
                                                    rooms and even the backyard. So now I can make
                                                    Google Duo video calls on my phone to my parents
                                                    while I sit outside. As a family, we love asking the
                                                    Google Assistant on our WiG point to answer
                                                    questions or play Bollywood songs.



                                                    Shea Ritchie, product marketing
                                                    manager
                                                    We live in a long, old, San Francisco apartment,
                                                    with high ceilings and thick walls, and the cable box
                                                    is in the living room, on one end of the apartment.
                                                    Our Nest WiG router sits in there next to the TV–we
                                                    cut the cord last year, so good Wi-Fi is critical for
                                                    watching our favorite shows and sports without
                                                    constant buffering. My boyfriend works from home,
                                                    so halfway down the hall in his o[ce we have his


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                                                    work’s access point plugged into the Google WiG
                                                    point we’ve been using for the last few years.
                                                    Without the Google WiG point in the o[ce, his work
                                                    network wouldn’t be strong enough for him to
                                                    actually get online. At the other end of the
                                                    apartment, I keep the Nest WiG point in Mist next to
                                                    my bed so I can listen to guided meditation at night
                                                    and the news every morning. We use the Google
                                                    Home app to manage our network, share the guest
                                                    network password and troubleshoot from
                                                    anywhere.



                                                    Melissa Dominguez, engineering
                                                    manager
                                                    We live in a two-story house with a large backyard.
                                                    We have the Nest WiG router in the o[ce, which is
                                                    downstairs at the front of the house, and a Nest
                                                    WiG point in the master bedroom, which is upstairs
                                                    at the back of the house. This gives us great
                                                    coverage for the whole house and yard, access to
                                                    the Assistant from the adjoining bathroom so I can
                                                    ask about the weather while I get ready. Plus, I can
                                                    enforce bedtime with Wi-Fi pause schedules and
                                                    remind the kids to get out the door on time with a
                                                    scheduled broadcast reminder. This helps the kids
                                                    build good habits without constant nagging from
                                                    their parents.



                                                    Sanjay Noronha, product
                                                    manager
                                                    We have a U-shaped house with stucco exterior
                                                    walls—a big no-no for Wi-Fi signal. The Nest WiG
                                                    router is at the end of one of the legs of the “U.” We
                                                    put a Nest WiG point in the kitchen, which is at the
                                                    opposite side. We spend most of our time in the
                                                    kitchen, where having a WiG point in plain view
                                                    allows for a fast and robust signal where we need it
                                                    the most. Even our garage door opener is Wi-Fi
                                                    connected, so we can verify we didn’t forget to
                                                    close it after we’ve left home. I’ve got Safesearch
                                                    turned on for everyone so we don’t stumble upon
                                                    explicit content, and we have Wi-Fi schedules set
                                                    up for the kids. ■




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